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 1                  UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK
 2

 3     ------------------------------x

 4     ANTHONY RAPP and C.D.,

 5                         Plaintiffs,

 6                  vs.                        Case No.:
                                               20-cv-9586 (LAK)
 7
       KEVIN SPACEY FOWLER a/k/a
 8     KEVIN SPACEY,

 9                    Defendant.
       ------------------------------x
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13

14          Remote videotaped deposition of ANTHONY RAPP

15                           February 3, 2021

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24     Suzanne J. Stotz, CRR, RPR, Notary Public
       470403
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11:53    1     parties I had seen intoxicated adults.

11:53    2            Q.       Did you have interactions with

11:53    3     these intoxicated adults at these parties?

11:53    4            A.       I don't recall specific

11:53    5     interactions.       I certainly recall witnessing

11:54    6     people that I perceived to be intoxicated.

11:54    7            Q.       You said you didn't remember

11:54    8     Mr. Fowler saying anything when he was in the

11:54    9     door.

11:54   10                     As Mr. Fowler walked over to the,

11:54   11     to the bed, do you recall him saying anything

11:54   12     then?

11:54   13            A.       I don't recall him saying anything.

11:54   14            Q.       Do you recall Mr. Fowler saying

11:54   15     anything when he picked you up?

11:54   16            A.       I don't recall him saying anything

11:54   17     when he picked me up.

11:54   18            Q.       And can you explain in greater

11:54   19     detail exactly what happened when Mr. Fowler

11:54   20     kind of picked you up?          How did he pick you up?

11:54   21            A.       He used one arm to put around my

11:54   22     shoulders/back area to hold me there and put

11:54   23     one hand and arm under my butt and legs to lift

11:54   24     me up like that.        So like a fireman carry or a

11:54   25     groom carrying a bride over a threshold.



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11:54    1                     So it happened in one sort of -- in

11:54    2     one movement, a surprising, shocking movement.

11:55    3     And then he turned to the bed and laid me down

11:55    4     and laid on top of me.

11:55    5            Q.       Do you remember him saying anything

11:55    6     to you at that point?

11:55    7            A.       I do not recall him saying

11:55    8     anything.

11:55    9            Q.       Do you remember Mr. Fowler saying

11:55   10     anything to you while he -- while you allege he

11:55   11     was on top of you on the bed?

11:55   12            A.       I do not recall him saying

11:55   13     anything.

11:55   14            Q.       Do you recall saying anything to

11:55   15     him?

11:55   16            A.       I do not recall saying anything to

11:55   17     him.    I froze.

11:55   18            Q.       You said that Mr. Fowler picked you

11:55   19     up in one motion.

11:55   20                     Did I get that right?

11:55   21            A.       That's my recollection.          As best

11:55   22     as -- as, you know, it's a kind of complicated

11:55   23     motion, but it's a motion that all happened

11:55   24     sort of in one movement.

11:55   25            Q.       And when that one movement ended,



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11:55    1     you were in the air being held?

11:56    2            A.       Yes.

11:56    3            Q.       You characterize it as a bride,

11:56    4     right?

11:56    5            A.       Yes.    And again, immediately frozen

11:56    6     and shocked.

11:56    7            Q.       Okay.    So I just want to make sure

11:56    8     I get this right.

11:56    9                     So when Mr. Fowler was holding you

11:56   10     in the air, was one hand was under your back,

11:56   11     right?

11:56   12            A.       Yeah.    I mean, in the -- in sort of

11:56   13     the midback under, you know -- it's this area

11:56   14     of my body (indicating), you know, to support

11:56   15     my torso.

11:56   16            Q.       And the other hand would have been

11:56   17     somewhere under your knees; fair to say?

11:56   18            A.       Yeah.    It all got there in the

11:56   19     process, went from under my butt, down my leg,

11:56   20     to my knees.

11:56   21            Q.       And that's typically how someone

11:56   22     would pick up a bride, you said, right?

11:56   23            A.       Yeah.    That's -- that's the --

11:56   24     that's the best way to describe the image.                It

11:56   25     is a perfect capture of the look of the pose as



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11:57    1     I can recall it and experience it from the

11:57    2     inside of my body looking out.            If someone took

11:57    3     a snapshot, I believe that's what it would

11:57    4     like.

11:57    5            Q.       This also would be consistent with

11:57    6     a firefighter, right, picking someone up?

11:57    7            A.       I suppose.      I suppose sometimes

11:57    8     firefighters put people over their shoulders,

11:57    9     too.    So I don't know.

11:57   10            Q.       And sometimes firefighters will

11:57   11     pick people up as you allege Mr. Fowler did

11:57   12     you, right?

11:57   13            A.       Perhaps, yes.

11:57   14            Q.       You said that Mr. Fowler's hand

11:57   15     grazed your, your butt, right?

11:57   16            A.       Yes.

11:57   17            Q.       For how long did Mr. Fowler's hand

11:57   18     graze your butt?

11:57   19            A.       I can't say exactly.         It didn't

11:57   20     linger there, but it certainly touched it in

11:57   21     the process.

11:57   22            Q.       Did he squeeze your butt?

11:57   23            A.       I don't recall a squeeze, no.

11:57   24            Q.       Was his hand on your butt for any

11:57   25     longer than it was any other part of your body



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11:57    1     as he picked you up?

11:57    2            A.       I don't recall that specifically,

11:57    3     no.

11:57    4            Q.       Did you perceive that as part of

11:58    5     picking you up, that his hand touched your butt

11:58    6     and swept down your leg all in one motion so

11:58    7     that he could pick you up?           Is that --

11:58    8                     MR. SAGHIR:      Note my objection to

11:58    9            the form.     Note my objection to the form.

11:58   10            If you could rephrase that, Chase.

11:58   11                     MR. SCOLNICK:       Sure.    Sure.    Okay.

11:58   12     BY MR. SCOLNICK:

11:58   13            Q.       So if a fireman were to pick you

11:58   14     up, would you describe that as his hand going

11:58   15     from your butt to your knees as well?

11:58   16            A.       I've never been picked up by a

11:58   17     firefighter.       I can't comment on that.

11:58   18            Q.       Was there anything different about

11:58   19     the way that Mr. Fowler picked you up than a

11:58   20     firefighter would do saving someone from a

11:58   21     building?

11:59   22                     MR. SAGHIR:      Objection to the form.

11:59   23            Pure speculation.        He's never been picked

11:59   24            up by a firefighter.

11:59   25                     But go ahead and answer.



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11:59    1                     THE WITNESS:      I'm sorry.      Go ahead

11:59    2            and answer?

11:59    3                     MR. SAGHIR:      Yes.

11:59    4                     THE WITNESS:      I've never been

11:59    5            picked up by a firefighter.           I can't

11:59    6            speculate.

11:59    7     BY MR. SCOLNICK:

11:59    8            Q.       Well, you've seen firefighters pick

11:59    9     people up before, at least in movies and maybe

11:59   10     in person, right?

11:59   11            A.       Perhaps.     I'm not even sure that I

11:59   12     have.    I mean -- I don't know.          I've seen --

11:59   13     maybe I've seen an image of someone holding

11:59   14     someone.     I'm not sure I've ever seen anyone

11:59   15     pick anyone up.        I'm not sure.

11:59   16            Q.       At about this same time -- well, I

12:00   17     guess during the exact same time, you were in

12:00   18     the play Precious Sons, right?

12:00   19            A.       Yes.

12:00   20            Q.       And Ed Harris was also in that

12:00   21     play, right?

12:00   22            A.       Yes.

12:00   23            Q.       And Ed Harris's character at one

12:00   24     point during the play picked you up, right?

12:00   25            A.       Yes.



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12:00    1            Q.       And he picked you up like a bride,

12:00    2     right?

12:00    3            A.       Yeah.    Yes, in the same sort of

12:00    4     pose if that's what you mean, yes.

12:00    5            Q.       Was there anything different about

12:00    6     the way that Ed Harris's character picked you

12:00    7     up than what you're alleging Mr. Fowler to have

12:00    8     done?

12:00    9            A.       Yes.    I don't remember the exact

12:00   10     staging, but it was not in an intimate, private

12:00   11     moment.     It was an exuberant father holding his

12:00   12     son, you know, with the mother there.

12:00   13                     It was -- I mean, there's a

12:00   14     photograph of it.        It's like a laughing, happy

12:01   15     scene among the family.

12:01   16            Q.       But as far as -- I understand that

12:01   17     it was in a play, and it was perhaps a happy

12:01   18     scene.

12:01   19                     Is that what you're saying?

12:01   20            A.       Yes.

12:01   21            Q.       Okay.    But putting that aside, the

12:01   22     physical act of picking you up, was Ed Harris's

12:01   23     character picking you up, that act, was it the

12:01   24     same or similar to what you allege Mr. Fowler

12:01   25     to have done?



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12:17    1      to anyone?

12:17    2            A.       I don't recall doing that.

12:17    3            Q.       Do you recall anyone introducing

12:17    4      themselves to you?

12:17    5            A.       I do not recall that.

12:17    6            Q.       You don't recall having any

12:17    7      exchanges with anyone at the apartment?

12:17    8            A.       No.

12:17    9            Q.       Now, I want to turn to where we

12:17   10      left off before the break.

12:17   11                     You said that Mr. Fowler picked you

12:17   12      up in the air.       That's where I want to focus on

12:17   13      now, okay?

12:17   14                     How long were you in the air?

12:17   15            A.       I -- I have no way of saying

12:17   16      exactly how long.        Briefly.

12:18   17            Q.       Was it two minutes?

12:18   18            A.       No.    It was less than -- definitely

12:18   19      less than two minutes.         It was brief.

12:18   20            Q.       Do you think it could have been

12:18   21      30 seconds?

12:18   22            A.       That feels long to me.          No.

12:18   23            Q.       It was one -- I think you described

12:18   24      it in one of the articles as one motion, right,

12:18   25      picking you up and then putting you down on the



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12:18    1      bed --

12:18    2            A.       Yes.

12:18    3            Q.       -- is that fair to say?

12:18    4            A.       Yes.

12:18    5            Q.       And were you put down on the bed in

12:18    6      the exact same place you were before you were

12:18    7      picked up?

12:18    8            A.       No, because I was sitting on the

12:18    9      edge of the bed.       I was put down on the bed.           I

12:18   10      was laid down on the bed.

12:18   11            Q.       How far were you laid on the bed

12:18   12      from where you were sitting?

12:18   13            A.       I was laid down so that my head was

12:18   14      toward the headboard, close to the headboard so

12:18   15      that my body was on the bed as opposed to

12:19   16      sitting on the edge of the bed.

12:19   17            Q.       And you allege that Mr. Fowler put

12:19   18      you down on the bed and was on top of you?

12:19   19            A.       Yes.    He laid down on top of me and

12:19   20      pressed into me --

12:19   21            Q.       Can you --

12:19   22            A.       -- and held me.

12:19   23            Q.       Can you explain what you mean by

12:19   24      pressed in to you?

12:19   25            A.       The full weight of his body was



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12:19    1      fully pressed against my body as I was on my

12:19    2      back.    He was on my front.        Not exactly -- I

12:19    3      don't know, I'm sorry, the way to describe it.

12:19    4      I'm using my hands.        But not exactly totally

12:19    5      head-to-toe touching every part, a little bit

12:19    6      angled so that his chest was on my chest.               His

12:19    7      arms were around my shoulders holding me, and

12:19    8      his pelvis was pressing into my hips, the side

12:19    9      of my hip.     So it was like angled, not directly

12:19   10      on top but angled.

12:20   11            Q.       So you're saying he wasn't

12:20   12      parallel, right?

12:20   13            A.       I guess that's the language to use.

12:20   14      It was more angled than parallel, yes.

12:20   15            Q.       And for how long do you allege that

12:20   16      Mr. Fowler was on top of you?

12:20   17            A.       I have no way of saying exactly how

12:20   18      long.    It was a frozen, suspended moment in my

12:20   19      recollection.

12:20   20            Q.       And did that moment last for five

12:20   21      minutes; do you think?

12:20   22            A.       I think it lasted for less than --

12:20   23      fewer than five minutes.

12:20   24            Q.       Okay.     Could it have been

12:20   25      30 seconds?



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12:20    1            A.       I don't -- I have no way of saying

12:20    2      exactly how long it was.

12:20    3            Q.       So it's possible it could have been

12:20    4      30 seconds?

12:20    5            A.       It's possible it could have been

12:20    6      30 seconds.

12:20    7            Q.       Is it possible it could have been

12:20    8      ten seconds?

12:20    9            A.       It felt longer than ten seconds.

12:20   10            Q.       So your estimate is you recall

12:20   11      today is somewhere between 10 and 30 seconds;

12:20   12      am I understanding that right?

12:20   13            A.       That is answering your questions to

12:20   14      the best of my ability, having no way of being

12:21   15      more precise than that.

12:21   16            Q.       During this period of time that you

12:21   17      allege Mr. Fowler was on top of you, where were

12:21   18      his hands?

12:21   19            A.       His hands were around my shoulders

12:21   20      holding me.      I don't know.      It's hard to

12:21   21      describe, you know, again, in words.             It's

12:21   22      better -- easier to demonstrate.

12:21   23                     But, you know, up behind my back

12:21   24      holding my shoulders.         That's my recollection.

12:21   25      From behind.      Again, it's awkward to describe



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12:21    1      myself.     It's hard to -- you know, I'm doing my

12:21    2      best to describe in words alone.

12:21    3            Q.       You said from behind.

12:21    4                     What do you mean?

12:21    5            A.       Meaning his -- his arm -- you know,

12:21    6      he was on top of me, so his arms were behind my

12:21    7      back.    And so his hands were coming up behind

12:21    8      me, you know, clutching my shoulders.

12:22    9            Q.       So at all times that you allege

12:22   10      Mr. Fowler was on top of you, his hands were

12:22   11      above your waist?

12:22   12            A.       Yes.

12:22   13            Q.       Where were your hands?

12:22   14            A.       Frozen at my sides.

12:22   15            Q.       Were your hands above your waist or

12:22   16      below your waist?

12:22   17            A.       I don't -- I don't recall

12:22   18      whether -- they were -- I was smushed down.                So

12:22   19      I don't recall if they were, like, smushed

12:22   20      against my belly or against my legs.             But they

12:22   21      were not -- I was not -- I did not feel like I

12:22   22      had freedom of movement of my hands; and I was,

12:22   23      again, frozen in this position.

12:22   24            Q.       Do you recall telling Mr. Fowler

12:22   25      that you were uncomfortable?



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12:22    1            A.       I do not recall saying anything.

12:22    2            Q.       You don't recall indicating to

12:22    3      Mr. Fowler that you were uncomfortable in the

12:23    4      situation or uncomfortable physically?

12:23    5            A.       I do not recall saying anything.             I

12:23    6      recall being frozen and shocked and upset and

12:23    7      scared.

12:23    8            Q.       Do you recall Mr. Fowler saying

12:23    9      anything to you when you allege he was on top

12:23   10      of you?

12:23   11            A.       No.

12:23   12            Q.       You said that Mr. -- you allege

12:23   13      that Mr. Fowler's body was on an angle on top

12:23   14      of yours, right?

12:23   15            A.       A slight angle, yes.         Not perfectly

12:23   16      parallel.     Slightly angled, yes.

12:23   17            Q.       Where was his waist?

12:23   18            A.       It was enough that I was feeling

12:23   19      pressure from as much as I could perceive

12:23   20      against my side of my hips.

12:23   21            Q.       What did you feel pressure from?

12:23   22      From -- what are you alleging you felt pressure

12:23   23      from?

12:23   24            A.       The entire weight of his body was

12:23   25      entirely on my body.         And as I'm now being



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12:24    1      asked to describe the details of all of it, I

12:24    2      can describe that I felt the pressure of his

12:24    3      chest on my chest.        His hands were on my body.

12:24    4      His legs and groin pressing into the side of my

12:24    5      body since he was on an angle.            He wasn't on

12:24    6      top pressing into me.         He was at an angle

12:24    7      pressing, but his chest was more directly on my

12:24    8      chest.

12:24    9            Q.       Are you alleging that he had an

12:24   10      erection?

12:24   11            A.       I have no recollection specifically

12:24   12      of that.     I cannot say for sure.

12:24   13            Q.       But 14, you obviously knew what an

12:24   14      erection was, right?

12:24   15            A.       Yes.

12:24   16            Q.       While you were on the -- while you

12:25   17      were on the bed, are you alleging that

12:25   18      Mr. Fowler touched your penis?

12:25   19            A.       No.

12:25   20            Q.       While you were on the bed, are you

12:25   21      alleging that Mr. Fowler touched your anus?

12:25   22            A.       No.

12:25   23            Q.       While you were on the bed, are you

12:25   24      alleging that Mr. Fowler touched your butt?

12:25   25            A.       Not on the bed -- not at that point



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12:25    1      on the bed.      When I was on the bed sitting on

12:25    2      the bed is when his hand touched my butt to

12:25    3      pick me up.

12:25    4                     I'm not alleging that once he was

12:25    5      laying on top of me, that he touched my butt at

12:25    6      that point.

12:25    7            Q.       And you characterized it earlier as

12:25    8      his hand grazing your butt as he picked you up,

12:25    9      right?

12:25   10            A.       Yes.

12:25   11            Q.       And it passed over your butt in one

12:25   12      motion to pick you up, right?

12:25   13            A.       Yes.

12:25   14            Q.       Okay.     Now, returning to the

12:25   15      situation we're describing where you're

12:25   16      alleging that he lied on top of you --

12:25   17            A.       Yes.

12:25   18            Q.       -- are you with me?

12:25   19            A.       Yes.

12:25   20            Q.       Okay.     Did he touch your genitals

12:25   21      at all --

12:25   22            A.       No.

12:25   23            Q.       -- while he was -- while

12:25   24      Mr. Fowler, you allege he was on top of you?

12:26   25            A.       No.



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12:26    1            Q.       Did Mr. Fowler attempt to remove

12:26    2      your pants?

12:26    3            A.       No.

12:26    4            Q.       Did he attempt to remove your

12:26    5      pants -- sorry.       Did he remove his pants?

12:26    6            A.       No.

12:26    7            Q.       Did you touch his genitals?

12:26    8            A.       No.

12:26    9            Q.       Did he kiss you?

12:26   10            A.       No.

12:26   11            Q.       Did you kiss him?

12:26   12            A.       No.

12:26   13            Q.       Has Mr. Fowler ever touched your

12:26   14      penis?

12:26   15            A.       No.

12:26   16            Q.       Has Mr. Fowler ever touched your

12:26   17      genitals?

12:26   18            A.       No.

12:26   19            Q.       Has Mr. Fowler ever touched your

12:26   20      anus?

12:26   21            A.       No.    You mean specific -- no.          The

12:26   22      anus is the very specific biological -- no.

12:27   23            Q.       Other than what you described

12:27   24      earlier where Mr. Fowler's hand grazed your

12:27   25      butt when he picked you up, are you alleging



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12:27    1      that Mr. Fowler touched your butt?

12:27    2            A.       No.

12:27    3                     MR. SAGHIR:      I'm going to object to

12:27    4            the form.      Aside from what he testified

12:27    5            to, correct?

12:27    6                     Was there a second time he touched

12:27    7            the butt; is that what you're asking?

12:27    8                     MR. SCOLNICK:       Yes, that's what I'm

12:27    9            asking.

12:27   10                     THE WITNESS:       There's not a second

12:27   11            time.

12:27   12      BY MR. SCOLNICK:

12:27   13            Q.       Okay.     So the only time that you

12:27   14      can recall or you're alleging that Mr. Fowler

12:27   15      touched your butt is when he picked you up and

12:27   16      his hand grazed your butt, right?

12:27   17            A.       Yes.

12:27   18            Q.       Are you alleging that Mr. Fowler

12:27   19      put his hand down your pants?

12:27   20            A.       No.

12:27   21            Q.       Not on that evening, right?

12:27   22            A.       Not that -- not that evening.

12:28   23            Q.       Not ever?

12:28   24            A.       I'm sorry.      You said hand down my

12:28   25      pants; is that what you said?



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12:28    1            Q.       That's what I said.

12:28    2            A.       No, he did not put his hand down my

12:28    3      pants.

12:28    4            Q.       Mr. Fowler has never put his hand

12:28    5      down your pants, right?

12:28    6            A.       Right.

12:28    7            Q.       And have you ever put your hand

12:28    8      down Mr. Fowler's pants?

12:28    9            A.       No.

12:28   10            Q.       Have you ever touched Mr. Fowler's

12:28   11      genitals?

12:28   12            A.       No.

12:28   13            Q.       Focusing on the evening of your

12:28   14      allegations, at any point did Mr. Fowler tell

12:28   15      you that he wanted to have sex with you?

12:28   16            A.       He did not say those words.

12:28   17            Q.       Did he say that he wanted to give

12:28   18      you oral sex?

12:28   19            A.       No.

12:28   20            Q.       Did he say that he wanted you to

12:28   21      give him oral sex?

12:28   22            A.       No.

12:28   23            Q.       Did he tell you that he wanted to

12:28   24      kiss you?

12:28   25            A.       No.



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12:29    1            Q.       Did he say that he wanted you to

12:29    2      kiss him?

12:29    3            A.       No.

12:29    4            Q.       Did he tell you that he wanted to

12:29    5      touch your genitals?

12:29    6            A.       No.

12:29    7            Q.       Did he tell you that he wanted you

12:29    8      to touch his genitals?

12:29    9            A.       No.

12:29   10            Q.       Did he tell you to remove your

12:29   11      clothes?

12:29   12            A.       No.

12:29   13            Q.       Did he tell you he was going to

12:29   14      remove his clothes?

12:29   15            A.       No.

12:29   16            Q.       Has Mr. Fowler ever told you that

12:29   17      he wanted to have sex with you?

12:29   18            A.       No.

12:29   19            Q.       Has Mr. Fowler ever told you that

12:29   20      he wanted to give you oral sex?

12:29   21            A.       No.

12:29   22            Q.       Has Mr. Fowler ever told you that

12:29   23      he wanted you to give him oral sex?

12:29   24            A.       No.

12:29   25            Q.       Has Mr. Fowler ever told you that



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12:29    1      he wanted to kiss you?

12:29    2             A.      No.

12:29    3             Q.      Has Mr. Fowler ever told you that

12:29    4      he wanted you to kiss him?

12:29    5             A.      No.

12:29    6             Q.      Has Mr. Fowler ever told you he

12:29    7      wanted to touch your genitals?

12:29    8             A.      No.

12:29    9             Q.      Has Mr. Fowler ever told you he

12:29   10      wanted you to touch his genitals?

12:29   11             A.      No.

12:30   12             Q.      Has Mr. Fowler ever asked you to

12:30   13      remove your clothes?

12:30   14             A.      No.

12:30   15             Q.      Has Mr. Fowler ever said that he

12:30   16      wanted to remove his clothes when he was around

12:30   17      you?

12:30   18             A.      No.

12:30   19             Q.      And just to clarify for the record,

12:30   20      has Mr. Fowler ever touched your genitals?

12:30   21             A.      No.

12:30   22             Q.      And have you ever touched his

12:30   23      genitals?

12:30   24             A.      Did you ask me if I've ever touched

12:30   25      his genitals?



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12:30    1            Q.       Yes.

12:30    2            A.       I have not touched his genitals.

12:30    3            Q.       Has Mr. Fowler ever discussed sex

12:30    4      with you?

12:30    5            A.       No.

12:30    6            Q.       Has Mr. Fowler ever shown you

12:30    7      pornography?

12:30    8            A.       No.

12:30    9            Q.       Has Mr. Fowler ever shown you adult

12:30   10      movies?

12:30   11            A.       No.

12:31   12            Q.       Has Mr. Fowler ever shown you adult

12:31   13      magazines?

12:31   14            A.       No.

12:31   15            Q.       Has Mr. Fowler ever shown you

12:31   16      photographs of people having sex?

12:31   17            A.       No.

12:31   18            Q.       Has Mr. Fowler ever shown you

12:31   19      pictures of naked adults?

12:31   20            A.       No.

12:31   21            Q.       Has Mr. Fowler ever shown you

12:31   22      pictures of naked children?

12:31   23            A.       No.

12:31   24            Q.       Returning back to when you allege

12:31   25      Mr. Fowler was on top of you, how did that end?



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12:31    1      Who got up first?

12:31    2            A.       I squirmed out from underneath him.

12:31    3            Q.       Can you explain what you mean by

12:31    4      "squirmed out from underneath him"?

12:31    5            A.       I have no better explanation.            I

12:31    6      wriggled my body underneath the weight of his

12:31    7      body and got out from underneath him and got

12:32    8      off the bed.

12:32    9                     I experienced his weight as, you

12:32   10      know, something described as dead weight.               It

12:32   11      was heavy.     His weight was heavy on me.           He was

12:32   12      holding me, and I squirmed out from under out

12:32   13      that dead weight.

12:32   14            Q.       Do you recall him telling you not

12:32   15      to get up?

12:32   16            A.       No.

12:32   17            Q.       At any point when you allege to

12:32   18      have been on the bed, do you recall telling him

12:32   19      that you wanted to get up?

12:32   20            A.       No.

12:32   21            Q.       How long did it take you to wriggle

12:32   22      out from underneath him?

12:32   23            A.       Quickly.      I mean, as -- when I made

12:32   24      the decision to wriggle out, I was able to do

12:32   25      it fairly quickly.



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12:32    1            Q.       Do you recall Mr. Fowler saying

12:32    2      anything to you in the process of when you were

12:32    3      wriggling out from underneath him?

12:32    4            A.       No.

12:32    5            Q.       Do you remember saying anything to

12:32    6      Mr. Fowler when you were in the process of

12:32    7      wriggling out from underneath him?

12:32    8            A.       No.

12:33    9            Q.       After you wriggled out from

12:33   10      underneath him and got up, what did you do?

12:33   11            A.       I went into the bathroom.           It

12:33   12      seemed the safest place to go.            I went in the

12:33   13      bathroom, closed the door.

12:33   14            Q.       How far was the bathroom door from

12:33   15      where you were?

12:33   16            A.       I think very close.         The room was

12:33   17      relatively small, so it was not -- it's not

12:33   18      much distance to travel from the side of the --

12:33   19      the other side of the bed opposite the window

12:33   20      to the bathroom.       It was fairly close to my

12:33   21      recollection.

12:33   22            Q.       Did you have to leave the bedroom

12:33   23      to get in the bathroom?

12:33   24            A.       It was -- the door was -- the door

12:33   25      to the bathroom was in the bedroom.             The



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 1                             C E R T I F I C A T E

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 4                         I, SUZANNE J. STOTZ, a

 5      Registered Professional Reporter, Certified

 6      Realtime Reporter, and Notary Public in and for

 7      the State of New York, do hereby certify that

 8      the foregoing is a true and accurate transcript

 9      of the stenographic above-captioned matter.

10

11

12                         __________________________

13                           SUZANNE J. STOTZ, RPR, CRR

14                    My Commission Expires March 2, 2022

15

16

17      DATED:    February 19, 2021

18

19

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